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THOMAS G. BRUTDN

CLERK, U.S. DlSTR|CT COURT

vs. Case No.

<D@*%‘<'\\i"~ 5 €>w,w»‘v Judge Robert M. Dow, Jr
CM one ©@\\oe T>Ungmwr Magistrate Judge Sidney |. Schenkier
PC 7

 

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Defendant(s)

CON[PLAINT

A

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CSMZ U.S.C. §1983 (suit against state officials for constitutional violations)
®28 U.S.C. § 1331 (suit against federal officials for constitutional violations)

C>Othe_r

 

Please note: This form has been created far prisoners but can be adapted for use by
non-prisoners.

Now comes the plaintiff,`/DLW\QY\U \>3', ?bav'\… TSK , and states as
follows: )

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The‘defendantf°i¢,r\¢\\ §;§L: , is employed‘as he \>@@L+N%L car The
C,fa\cl\@@ game \©w¢.(tm.\+ at \Mi*~ E\\\»d camp 11_

The defendant `\) %rx§@in&' ,is employed as P` \QL+LQ<NL ;O@ TY~»
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Case: 1:15-Cv-0184O Document #: 1 Filed: 02/27/15 Page 2 o'f 6 Page|D #:2

The defendant CA\U"¢@ Qo`\\"u¢ Mpm+w\mi', is employed as UY. C/l`»-&\@ gco`~»:.~*c \Bt\oow?h~iwi
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The defendant , is employed as
at

 

(revised 9/96)
The defendant , is employed as :
at

 

Additional defendants and addresses

 

For additional plaintiffs or defendants, provide the information in the same format as
above on a separate page.

LITIGATION HISTORY

A. Have you brought any other lawsuits in state or federal court dealing with the same
facts involved in this case? Yes Cl NO d -

If yes, please describe

 

 

'3. Have you brought any other lawsuits in state or federal court while incarcerated?
Yes 13 No d
C. If your answer to B is yes, how many? Describe the lawsuit in the space
below. (If there is more than one lawsuit, describe the additional lawsuits on another
piece of paper using the same outline.)
1. Parties to previous lawsuit:

Plaintiff(S)

 

Defendant(s)

 

 

2. Court (if federal court, give name of district; if state court, give name of county)

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Case: 1:15-Cv-0184O Document #: 1 Filed: 02/27/15 Page 3 of 6 Page|D #:3

 

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3. Docket Number/Judge

 

4. Basic claim made

 

5. Disposition (That is, how did the case end. Was the case dismissed? Was it

appealed? Is it still pending?)

 

6. Approximate date of filing of
lawsuit

7 . Approximate date of disposition

 

For additional cases, provide the above information in the same format on a separate

page.

EXHAUSTION OF ADMINISTRATIVE REMEDIES '
A. Is there a grievance procedure available at your institution? Yes No
B. Have you filed a grievance concerning the facts relating to this complaint? Yes

No d If your answer is no, explain why not

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C. Is the grievance process completed? Yes No

PLEASE NOTE.' THE PRISON LITIGATION REFORMACT BARS ANY

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Date of the occurrence At»a, Z’l*w' 2013

 

 

Witnesses to the occurrence D£LW 3,“1 am 97 k g \¢w 3m 933 it ma cwa a al 517 1 tow one
S!ate here brieij the FACTS that support your case. Descr;§e haw EACH defendantzsmvolved W\““ mg ITLK”“‘* /“\
Do not give any legal arguments or cite cases or statutes. Number each claim in aseparate paragrapklz. S`i°°"@ W‘"‘"`] '“
Unrelated claims should be raised in a separate civil action. UV`L U’° "° +h MJ\
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(State exactly what relief you want from the court.)

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